86 F.3d 1150
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bruce Franklin JERRETT, Petitioner-Appellant,v.ATTORNEY GENERAL of North Carolina, Respondent-Appellee.
    No. 95-7756.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 16, 1996.Decided May 29, 1996.
    
      M.D.N.C.
      DISMISSED.
      Appeal from the United States District Court for the Middle District of North Carolina, at Winston-Salem.   Frank W. Bullock, Jr., Chief District Judge.  (CA-95-32-6)
      Bruce Franklin Jerrett, Appellant Pro Se.
      Clarence Joe DelForge, III, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellee.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.   Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Jerrett v. Attorney General of North Carolina, No. CA-95-32-6 (M.D.N.C. Oct. 19, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    